    Case 1:10-cr-00188-RJA-HKS        Document 531      Filed 06/15/12    Page 1 of 9




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                                10-CR-188

JAVIER SANTIAGO,

                Defendant.
_____________________________________


                     REPORT, RECOMMENDATION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.



                             PRELIMINARY STATEMENT

             The defendant, Javier Santiago, is charged in counts 4 and 9 of a 13

count indictment against 23 defendants with conspiracy to possess with intent to

distribute, and to distribute, five kilograms or more of a mixture and substance

containing cocaine and a mixture and substance containing marijuana, in violation of

Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D), in

violation of Title 21 United States Code Section 846; and use and maintenance of the

premises at 370 Grove Street for the purpose of manufacturing, distributing and using

cocaine, in violation of Title 21, United States Code, Section 856(a)(1). Dkt. #1. The

defendant also faces forfeiture of money pursuant to Title 21, United States Code,

Sections 853(a)(1), 853(a)(2), and 853(p). Dkt. #1.
    Case 1:10-cr-00188-RJA-HKS         Document 531        Filed 06/15/12    Page 2 of 9




              The defendant filed an omnibus motion which joins in the motion of co-

defendant Christopher Santiago (Dkt. #330), who has resolved this action by plea. Dkt.

#336. The defendant also joins in the motions of co-defendant Julio Manuel De Leon

Navarro. Dkt. #336. The government filed a response and request for reciprocal

discovery. Dkt. #387. This Report, Recommendation and Order addresses

defendant’s motion to dismiss count 4 of the indictment and to suppress evidence

obtained pursuant to Title III intercept orders.



                              DISCUSSION AND ANALYSIS

Duplicity

              Defendant argues that count 4 of the indictment is duplicitous because “it

improperly alleges that the alleged conspiracy to distribute cocaine and the alleged

conspiracy to distribute marijuana are co-extensive, when, in fact, the available

evidence does not support that view.” Dkt. #252-2, p.2.



              “ An indictment is duplicitous if it joins two or more distinct crimes in a

single count.” United States v. Aracri, 968 F.2d 1512,1518 (2d Cir. 1992). However,

“[t]he allegation in a single count of a conspiracy to commit several crimes is not

duplicitous, for [t]he conspiracy is the crime, and that is one, however diverse its

objects.” Braverman v. United States, 317 U.S. 49, 54 (1942) (internal quotation

omitted). Thus, it is not improper for the government to allege in a single count that a

drug conspiracy involved multiple illegal substances. United States v. Murray, 618 F.2d

892, (2d Cir. 1980) (cocaine and marijuana); United States v. Morales, 280 F. Supp.2d


                                             -2-
    Case 1:10-cr-00188-RJA-HKS         Document 531       Filed 06/15/12     Page 3 of 9




262, 268 (S.D.N.Y. 2003) (collecting cases); United States v. Benjamin, 72 F. Supp.2d

161, 173 (W.D.N.Y. 1999) (conspiracy to possess and distribute crack cocaine, cocaine

and marijuana not duplicitous). Count 4 of the indictment charges the defendants with

a conspiracy in violation of Title 21, United States Code, Section 846,

              to possess with intent to distribute, and to distribute, five (5)
              kilograms or more of a mixture and substance containing
              cocaine, a Schedule II controlled substance, and a mixture
              and substance containing marijuana, a Schedule I controlled
              substance, in violation of Title 21, United States Code,
              Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D).

As there is nothing improper about charging a single conspiracy involving multiple illegal

substances, it is recommended that defendant’s motion to dismiss be denied.



Suppression of Communications Intercepted by Wiretap

              Defendant relies upon the government’s allegations of interception to

establish standing to argue that the Title III intercept orders were overbroad; the

application failed to demonstrate necessity; the application failed to establish probable

cause to believe that pertinent conversations would be intercepted over the target

telephones; and the intercepted communications were not properly minimized. Dkt.

#330, pp.28-29.



Standing

              18 U.S.C. § 2518(10)(a) permits any aggrieved person to move to

suppress the contents of any intercepted communication on the ground that the

communication was unlawfully intercepted; the order approving interception was

insufficient on its face; or the interception was not made in conformity with the

                                             -3-
    Case 1:10-cr-00188-RJA-HKS        Document 531      Filed 06/15/12    Page 4 of 9




interception order. An “aggrieved person” is defined as “a person who was a party to

any intercepted wire, oral, or electronic communication or a person against whom the

interception was directed.” 18 U.S.C. § 2510(11). This provision “is to be construed in

accordance with standing requirements usually applied to suppression claims under the

fourth amendment.” United States v. Gallo, 863 F.2d 185, 192 (2d Cir. 1988), cert.

denied, 489 U.S. 1083 (1989). As defendant Javier Santiago was a named target and

interceptee on the Title III interception orders docketed as 09-MR-88 and 09-MR-103,

he has demonstrated standing to move against the intercept orders.



Overbreadth

              Defendant’s allegation that “the warrants are impermissibly overbroad” is

contradicted by the terms of the electronic intercept order, which clearly delineates the

target telephone and the nature of the communications which may be intercepted.

Accordingly, it is recommended that this aspect of defendant’s motion to suppress be

denied.



Probable Cause

              18 U.S.C. § 2518(3) permits a federal court

              to authorize interception of oral or wire communications if it
              determined, on the basis of facts submitted by the applicant,
              that there was probable cause to believe (a) that the
              individual was committing, had committed, or was about to
              commit an offense enumerated in 18 U.S.C. § 2516, (b) that
              particular communications concerning that offense would be
              obtained through such interception, and © that the facilities
              to be surveilled were being used or were about to be used in
              connection with the commission of such an offense. The
              standard of probable cause is the same as the standard for

                                            -4-
    Case 1:10-cr-00188-RJA-HKS           Document 531        Filed 06/15/12      Page 5 of 9




               a regular search warrant, and a reviewing court will defer to
               the issuing court’s determination that there was probable
               cause as long as there existed a substantial basis for a . . .
               judge to conclude that a search would uncover evidence of
               wrong-doing.

United States v. Biaggi, 853 F.2d 89, 95 (2d Cir. 1988) (internal quotations and citations

omitted), cert. denied, 489 U.S. 1052 (1989). Thus, a determination of probable cause

is based upon the totality of the circumstances, to wit, “a practical, common-sense

decision whether, given all the circumstances set forth in the affidavit before him,

including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay

information, there is a fair probability that . . . evidence of a crime will be found . . . .”

Illinois v. Gates, 462 U.S. 213, 238 (1983).



               Upon review of the affidavits in support of the applications for intercept

orders, the Court is satisfied that there is probable cause to believe that interception of

communications over the target telephone would produce evidence of drug crimes.

Accordingly, it is recommended that this aspect of defendant’s motion to suppress be

denied.



Necessity

               In accordance with 18 U.S.C. § 2518(1)©, each application for an order

authorizing or approving the interception of a wire, oral, or electronic communication

must include

               a full and complete statement as to whether or not other
               investigative procedures have been tried and failed or why
               they reasonably appear to be unlikely to succeed if tried or
               to be too dangerous.

                                               -5-
    Case 1:10-cr-00188-RJA-HKS          Document 531        Filed 06/15/12    Page 6 of 9




“[G]eneralized and conclusory statements that other investigative procedures would

prove unsuccessful” will not satisfy the statute. United States v. Lilla, 699 F.2d 99, 104

(2d Cir. 1983). However, the government is not required to wait until “all other possible

means of investigation have been exhausted by investigative agents; rather, they only

require that the agents inform the authorizing judicial officer of the nature and progress

of the investigation and of the difficulties inherent in the use of normal law enforcement

methods.” United States v. Torres, 901 F.2d 205, 231 (2d Cir.), cert. denied, 498 U.S.

906 (1990), quoting United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.), cert.

denied, 444 U.S. 1019 (1979). Moreover, in reviewing a decision issuing an intercept

order, it is not appropriate for the Court “to make a de novo determination of the

sufficiency of the application,” but only “to decide if the facts set forth in the application

were minimally adequate to support the determination that was made.” United States v.

Diaz, 176 F.3d 52, 109 (2d Cir.), cert. denied by Rivera v. United States, 528 U.S. 875

(1999) (internal quotation omitted). Recognizing the difficulty of successfully utilizing

traditional law enforcement methods to surveil complex criminal operations involving

large conspiracies, the Court of Appeals for the Second Circuit has adopted a practical,

commonsense approach to such determinations. United States v. Concepcion, 579

F.3d 214, 218 (2d Cir. 2009).



              As in Torres, the defendant’s claim that traditional law enforcement

methods had proven successful and could continue to advance the investigation,

thereby negating the need for interception of electronic communications, is

unpersuasive. Giving proper deference to Chief Judge Skretny’s review and acceptance


                                              -6-
    Case 1:10-cr-00188-RJA-HKS         Document 531      Filed 06/15/12   Page 7 of 9




of the extensive affidavits of Special Agent John A. Yervelli, Jr. and Special Agent

Jason E. Galle in support of the applications for the intercept orders and continuation

thereof, it is concluded that Chief Judge Skretny properly found that conventional

investigative techniques had been tried and failed and that alternatives to wire

interception would be unlikely to succeed or would be too dangerous, thereby

necessitating the intercept orders and extensions thereto. Accordingly, it is

recommended that this aspect of defendant’s motion to suppress be denied.



Minimization

               Only a person with a possessory or proprietary interest in the device being

intercepted has standing to contest the minimization procedures employed by law

enforcement agencies. See United States v. Ruggiero, 928 F.2d 1289, 1303 (2d Cir.)

(“doubtful that defendants had standing to raise a minimization challenge to wiretaps on

phones not in their residences even though many of the challenging defendants were

named targets of the wiretap orders), cert. denied sub nom Gotti v. United States, 502

U.S. 938 (1991); United States v. Fury, 554 F.2d 522, 526 (2d Cir.) (defendant Fury did

not have standing to raise the issue of improper minimization because it was not

defendant’s phone that was tapped and the failure to minimize the conversations

intercepted is an invasion of privacy as to the owner of the phone that was tapped, not

defendant), cert. denied, 433 U.S. 910 (1977). As neither of the wiretap orders were

directed to defendant’s telephone, defendant lacks standing to challenge the

minimization of calls with respect to that telephone. Therefore, it is recommended that

this aspect of defendant’s motion to suppress be denied.


                                            -7-
     Case 1:10-cr-00188-RJA-HKS          Document 531       Filed 06/15/12    Page 8 of 9




               Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1),

 that:



               This Report, Recommendation and Order be filed with the Clerk of the

 Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

 filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

 Report, Recommendation and Order in accordance with the above statute,

 Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

 Failure to file objections within the specified time or to request an extension of

 such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

 474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and


                                             -8-
     Case 1:10-cr-00188-RJA-HKS        Document 531      Filed 06/15/12   Page 9 of 9




the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:       Buffalo, New York
             June 15, 2012


                                          s/ H. Kenneth Schroeder, Jr.
                                         H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge




                                           -9-
